 

Case 4:14-cv-00753 Document 52 Filed on 03/10/16 in TXSD Page 1 of 1

 

 

 

 

    

   

            

 
 
 
 

 

 

 

Case: 15-202 / Document: 0051339922 Page:1 Date Flea: 02/29/2016
Base issosra “Bocument Oosisiese4s Page:1 Date Filed: 02/17/2016
UNITED STATES COURT OF APPEALS FOR THE FIFTH CIRCUIT
BILL OF COSTS
MAR 10 2016

NOTE: The Bill of Costs is due in this office within 14 days from the date of the

opinion, See Fev. R. App. P. & 5™ Cir. R. 39. Untimely bills of costs must be David J, Bradley, Clerk of Court

accompanied by a separate motion to file out of time, which the court may deny. 2
HOZAM ALAJMI y, THE METHODIST HOSPITAL, FAROUQ AQRAWI No. fi5-20278
The Clerk is requested to tax the following costs against: APPELLANT, HOZAM ALAJMI Lf, IF OV TS3

COSTS TAXABLE UNDER REQUESTED ALLOWED
Fed. R. App, P. & 5" Cir. R. 39 (If different from amount requested)
No. of Copies Pages Per Copy | Cost per Page* | Total Cost No. of Pages per Cost per Page* | Total Cost
Document
Docket Fee ($500.00)

 

 

Appendix or Record Excerpts

 

Appellaot’s Brief

 

 

Appellee’s Brief
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Other: [Binding

 

 

 

 

   
  

 

 

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Costs are hereby taxed in the amount of § ICE CD this 77 dayor  Jare h ,_ toll
LYLE W.CAYCE, CLERK
State of : .
County of By_ © C. Aya.

Deputy Clerk

1_Oscar L. De la Rosa » do hereby swear under penalty of perjury that the services for which fees have been charged were
incurred in this action and that the services for which fees have been charged were actually and necessarily performed. A copy of this Bill of Costs was this day mailed to
opposing counsel, with postage fully prepaid thereon. This 29th day of February _ __, 2016

[is / Oscar L Dela Rosa J

(Signature)
*SEE REVERSE SIDE FOR RULES . .
GOVERNING TAXATION OF COSTS Attorney for The Methodist Hospital and Farouq Aqrawi

 

 

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